   Supreme Judicial Court for the Commonwealth   Full Court: SJC-13663   Filed: 10/16/2024 4:16 PM
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                       COMMONWEALTH OF MASSACHUSETTS

                             SUPREME JUDICIAL COURT

                                      NO. SJC-13663



                                      COMMONWEALTH,
                                        Appellee

                                                 V.

                                        KAREN READ,
                                         Appellant


    ON A RESERVATION AND REPORT BY THE SINGLE JUSTICE
         OF A PETITION FOR EXTRAORDINARY RELIEF
              PURSUANT TO G.L. c. 211, § 3


          COMMONWEALTH’S SUPPLEMENTAL RECORD APPENDIX




                                                 For the Commonwealth:

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 October 16, 2024




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                             Note on Redactions
      In the three jury notes referenced above, the
 signatures have been redacted to protect the juror’s
 identity in accordance with Mass. R. A. P. 21, Supreme
 Judicial Court Rule 1:24, and the trial judge’s Order
 of Impoundment. The redactions appear on pages S.R.3,
 4, and 5.




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                                                      EXHIBIT

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                          COMMONWEALTH OF MASSACHUSETTS
 NORFOLK, ss.                                                             SUPERIOR COURT
                                                                   DOCKET NO. 2282-CR-00117



 COMMONWEALTH OF
 MASSACHUSETTS,
     Plaintiff

 v.

 KAREN READ,
    Defendant.



                                 ORDER OF IMPOUNDMENT

       The Supreme Judicial Court has recognized that the safety of jurors is crucial to the fair

functioning of the judicial system, and that "the justice system owes them the highest degree of

vigilance for their personal safety." Commonwealth v. Silva, 448 Mass. 701, 708 (2007).

       This case has garnered significant and divisive attention in Massachusetts and across the

nation. The trial was livestreamed on local and national broadcasting channels. The proceedings

continue to be the daily subject of commentary on various social media platforms. People

associated with the case have been charged with intimidation.

       This Court acknowledges that the names of empanelled jurors who rendered a verdict in a

criminal case must be retained in the court file and made available to the public. Commonwealth

v. Fujita, 470 Mass. 484, 486 (2015). The jury in this case did not render a verdict, however, the

Court concludes that there is a real and present "risk of [personal] harm to the jurors [ and] to the

integrity of their service." Id. Consequently, the Court finds that good cause exists to impound

the list identifying the names of empanelled jurors in the trial of this case. The Court further




                                                  1


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concludes that there is a risk of immediate and irreparable injury should the list be made

available to the public at this time. See Uniform Rules oflmpoundment Procedure Rule 3(a).

       This Order shall expire ten days from the date of issuance, unless otherwise ordered by

the Court, for good cause shown, pursuant to Rule 3(b) of the Uniform Rules oflmpoundment

Procedure.



Dated: July 8, 2024                                          Isl Beverly J. Cannone
                                                             Beverly J. Cannone
                                                             Associate Justice
                                                             Superior Court




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                             COMMONWEALTH OF MASSACHUSETTS
                                SUPERIOR COURT DEPARTMENT
                                    OF THE TRIAL COURT

NORFOLK, SS                                                              DOCKET NO. 2282-CR-00117

COMMONWEALTH OF
MASSACHUSETTS
    Plaintiff

V.

KAREN READ
    Defendant


           EMERGENCY MOTION OF INTERESTED NON-PARTY JUROR DOE
               TO EXTEND ORDER OF IMPOUNDMENT OF JURY LIST

          Juror Doe, 1 an interested non-party, moves pursuant to Rules 6 and 10 of Trial Court

Rule VIII: Uniform Rules on Impoundment Procedure, for an indefinite extension of the Order

of Impoundment, entered sua sponte by the Court (Cannone, J.) on July 8, 2024, impounding the

list of jurors in this action. Juror Doe was a juror in this action and wishes to maintain their

privacy.

          In support of their motion, Juror Doe submits that the "real and present 'risk of [personal]

harm to the jurors [and] to the integrity of their service" is ongoing. See Order of Impoundment,

p. I, quoting Commonwealth v. Fujita, 470 Mass. 484, 486 (2015). Therefore, there continues to

be a risk of immediate and irreparable injury should the juror list be made public, and good cause

exists for an indefinite extension of the Order of Impoundment.

          In further support of their motion, Juror Doe relies on their Affidavit and Memorandum

of Law, filed herewith. Also filed herewith are a Proposed Findings and Order, and an Affidavit

of Service reflecting compliance with Rule 4 of the Uniform Rules on Impoundment.


1   Juror Doe requests to use a pseudonym for purposes of this motion.



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       WHEREFORE, Juror Doe, an interested non-party, respectfully requests that the Court

grant their motion and enter the following relief:

        I. Permit Juror Doe to proceed using a pseudonym for purposes of this motion;

       2. Find that good cause exists for an extension of the Order of Impoundment of the jury

           list in Commonwealth v. Read, Norfolk Superior Court No. 2282-CR-00117;

       3. Extend the Order of Impoundment of the jury list in Commonwealth v. Read, Norfolk

           Superior Court No. 2282-CR-00117 indefinitely, but no earlier than July 16, 2025.


                                              Respectfully submitted,

                                              JUROR DOE,
                                              By their attorneys,



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                                 CERTIFICATE OF SERVICE


        I hereby certify that this document eFiled on July 17, 2024 will be sent by separate email
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                         COMMONWEALTH OF MASSACHUSETTS
                            SUPERIOR COURT DEPARTMENT
                                OF THE TRIAL COURT

NORFOLK, SS                                                      DOCKET NO. 2282-CR-00117


COMMONWEALTH OF
MASSACHUSETTS
    Plaintiff

V.

KAREN READ
    Defendant


                                    AFFIDAVIT OF JUROR DOE
       Now comes Juror Doe, a pseudonym, who on oath deposes and says as follows:


       I.      I am of legai age and have personal knowledge of the facts set forth herein.

       2.      I was a member of the jury that was seated in the recently concluded trial in the

above-captioned case.

       3.      Ijust retained counsel to represent me.

       4.      I have read the Impoundment Order entered by Superior Court Associate Justice

Beverly J. Cannone on July 8, 2024, which found that "good cause exists to impound the list

identifying the names of empaneled jurors in the trial of this case."

       5.      As I read the Court's Order, it is scheduled to expire on July 18 unless it is

extended by the Court.

       6.      I submit this Affidavit in support of my request to extend the Impoundment Order

entered on July 8.




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          7.    I am asking that the Impoundment Order be extended indefinitely because I am in

fear of my personal safety and the personal safety of my family if the names of the jury are made

public.

          8.    I have read the Impoundment Order and noted on the very first page that

individuals associated with this case have been charged criminally with intimidation. I am

frightened for my personal safety as a result of learning that someone associated with this case

has been criminally charged with intimidation.

          9.    I also recall testimony from at least one witness who described being harassed by

individuals and her family being harassed because of their involvement in this case. I do not

know any of the specifics of any such harassment, but I fear that my family and I will not only be

harassed if the names of the jurors are made public, but that our personal safety will be seriously

compromised.

          I0.   During jury deliberations we could hear protesters outside screaming and yelling.

          11.   During our jury service, the members of the jury would meet at what was

supposed to be a secret location to be transported to and from the courthouse by bus. After being

discharged from jury service on July I, 2024, we were taken by bus back to what was supposed

to have been a secret location where we observed what appeared lo.be members of the media

including photographers. I was so much in fear on my way home that I pulled over to the side of

the road to see ifl was being followed. Thankfully, I was not being followed, but that was. (and

remains) my mindset. If juror names are made public, we will be constantly threatened and

harassed and there will likely be a physical confrontation at some point.




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        12.    Since being discharged from jury service on July 1, 2024 I have read multiple

news articles about the case and the attention that this case garnered across Massachusetts, New

England and the country.

        13.    There are clearly people who have very strong opinions about the case and about

the jurors who deliberated over many days. I have seen articles, comments to articles and

postings about the verdict saying some very nasty and dangerous things. Some individuals have

expressed outrage and anger that the jury did not acquit the defendant. Some individuals have

expressed outrage and anger that the jury did not find the defendant guilty.

        14.    Just yesterday, I read an article in The Boston Globe, with the headline, "Karen

Read case ended in a mistrial. But the diehards haven't given up." See, Exhibit I. In

approximately the 12" paragraph of this article, an administrator of a Karen Read-focused

Facebook group was quoted as saying: 'The people who were on the fringe of being interested in

it are now engulfed... The anger level was at a nine before and now it's at an I 1.5." The article

characterized this increase as "a rising rage".

        15.    Later in this July 15 Boston Globe article another individual interviewed by the

reporter stated "people are insane about this case. If they don't agree with you, they'll try to dox

you." I understand the term "dox" to mean that individuals will publicize someone's personal

information, including someone's residential address, occupation, business address etc.

Publicizing my personal information in this context exposes me and my family to unwanted, and

likely surprise, encounters with strangers who likely have an axe to grind with any juror.

        16.    I have seen social media posts that were very demeaning of and attacking the

integrity of the trial judge. If someone is going to attack a sitting judge, I see no reason why they

would not demean and attack, verbally and physically, a juror who sat on this jury.




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        17.     I understand that there are individuals who are upset that an Impoundment Order

was entered and that they are actively seeking the identity of all of the jurors.

        18.     For example, my attorneys have made me aware of a video posted by a blogger /

journalist, whom I understand to be a person who has been charged with witness intimidation

related to this case, speaking about the trial and the jury's inability to reach a unanimous verdict

on all counts after trial. In the video, the blogger initially states that he has identified the jury

foreperson in the case. Not only does the blogger state that he has identified the jury foreperson,

but also where this person lives and what the person does for a living. A link to this video can be

found here: https://x.com/JulieCar94/status/l 8084959205 I I 607087

        I 9.    In this same video, the blogger demands to know the identity of the "[expletive]

idiot on this jury" who did not vote in his preferred manner and further that:

       "Whoever did that subverted justice...Like, they helped cover up for a murder, as far as
       I'm concerned, fuck 'em, that's what I think."

https://x.com/JulieCar94/status/18084959205 l 1607087

The blogger states in another video posted to "X",

        ""Who outed the Chesna juror, remember that? The one woman who hung the Michael
        Chesna trial, 1 in July? The jury lists are public, so I got the jury list and I went down the
        list and I found the juror who hung the jury, and I shamed her, as I should, cause it's
        shameful...." (emphases added).

A link to this post can be found here: https://x.com/Heels In TheAir/status/1779344132235997463.

        20.     I understand that the above-mentioned blogger has been accused of harassing

witnesses to the case, including by organizing crowds of people to harass them outside their

homes, and I am aware that he has made statements in a blog from 2023 to the effect of,




1 Commonwealth y.Lopes, Norfolk County Superior Court Docket No. l882CV00309.




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"murderers, and those who cover for them. do not deserve to live a comfortable life while Karen

Read suffers and fights for justice for John O'Keefe." See Exhibit 2.

       21.     If. as he has stated, this blogger believes that members of the jury on which I

served "helped cover up for a murder," and he further believes that "those who cover for

[murderers]" are legitimate targets of harassment, I fully expect that members of the jury will be

subjected to efforts to harass and shame them with the very real probability that some physical

confrontation will inevitably occur.

       22.     My concerns are not limited to a particular blogger or to a particular "side" of this

case. I am aware that there are other outspoken bloggers, commentators, and groups of people

who wished for a guilty verdict on some or all charges against the defendant. I am aware that

there have been physical confrontations between the two sides of supporters.

       23.     An example of this is from two recent postings by an individual who appears to

be a reporter from New Bedford. In today's post, she stated that she was in court today

defending against a harassment charge against her and her pursuit of a counter-harassment

charge. See, Exhibit 3.

       24.     Yesterday, this reporter posted about "getting protection" from another blogger.

See, Exhibit 4. While I do not know the facts concerning these court appearances, it is very

evident that individuals on all sides in this case have acted irrationally and aggressively over the

past few years, which has caused multiple court appearances by parties seeking protection of the

courts from other individuals.

       25.     In light of the mistrial -- there is no end in sight to this irrational behavior, which

clearly continues today. Jurors will undoubtedly be subjected to harassment and likely physical

confrontations if their names are made public.




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        26.    My affidavit and motion should not be interpreted as indicating how I or any other

juror voted on this case, or how I or any other juror feel about this case. Every member of the

jury, regardless of how they voted, is likely to face backlash from a segment of the large portion

of the public who intensely followed this case. I wish to remain anonymous, and I bring this

motion on behalf of myself and any other juror who does not wish to be identified, regardless of

whether or not we agreed during our deliberations.

       27.     It was an honor to serve on the jury. It also was a significant sacrifice of time,

which I understood and anticipated when I was selected. What I did not anticipate, however, was

the likelihood that I and other members of the jury would become targets of intense public

scrutiny and likely harassment campaigns strictly due to the outcome of our private deliberations.

       28.     If jury names are made public, I will be subject to nonstop requests for comment

about jury deliberations. I would prefer to not have to respond to these inquiries. However,

what I fear is not only will I be subject to requests for interviews, but that I will be targeted and

harassed because of what I did, or did not do on that jury. I fear that verbal harassment will

likely lead to physical confrontation and physical harm. I am not prepared or equipped to

anticipate and prepare for any surprise personal attack. More importantly, I fear that I will not be

able to protect myself and my family.




        Signed under the penalties of perjury this 16th day of July 2024




                                        /s/ Juror Doe




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                                 CERTIFICATE OF SERVICE


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                                     /s/ Andrew P. DiCenzo




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                         EXHIBIT 1




                             S.R.18
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Karen Read case ended in a mistrial. But the
diehards haven't given up.
The judge in the Karen Read trial declared a mistrial. It triggered a cliflhanger -
and in some, an even deeper obsession.
By Beth Teilell Globe Staff, Updated July 15. 2024. 6.04 a.m.




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Jack Carney, right, of Canton, with other Karen Read supporters continuing their dedication to her, on a sidewalk along Providence Highway in
Dedham on July 14. PAT GREENHOUSE/GLOBE STAFF


DEDHAM -The TV cameras have moved on. The man wearing the blonde Judge Beverly Cannone wig
is gone. The street is no longer lined with people bedecked in pink holding "Free Karen Read" signs.

It's a weekday afternoon outside the Norfolk Superior Court, and where Read's supporters once reigned,
with their righteous outrage and their beach chairs, there is instead a farmer's market. A band plays
                                                S.R.19
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Sonny Rollins. A child climbs into a fire truck brought just for that reason. A woman carries an armful of
sunflowers.

But the pastoral scene is deceiving. The July 1 end of the trial wasn't the end at all. It was a mistrial, a
cliffhanger, an invitation for yet more obsession over a real-life situation that's as sad as it gets, but for
many has turned into a binge-worthy true-crime drama. And they get to be part of the story!

Those in the trial's grip are still out protesting, still fighting on Twitter and Facebook, still buying Karen
Read merch (the "Jackson Yannetti 2024"baseball caps, named for the defense attorneys, make a nice
keepsake).

Indeed, just six miles away from the Dedham courthouse where they got so chummy, the old "Karen
Read was framed" gang reconvened last Wednesday. Once strangers, they have become people who hug
hello and ask after each other's family members.


                                                   ADVERTISING




They have gathered in Canton, protesting in front of the offices of Norfolk District Attorney Michael
Morrissey - one of their many nemeses.




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(From left) Jack Carney, Cathy Carney, and Gail White hold up signs supporting Karen Read outside DA Morrisseys office in Canton. KAYLA
BARTKOWSKI FOR THE BOSTON


"Morrissey Gotta Go!" reads one sign. "Justice is coming," promises another.

The weather app shows 88 degrees, but the air is thick, and it feels hotter. The group is huddled on a
small patch of grass between the road and their enemy's parking lot. Shade is scarce, but crusaders
aren't stopped by humidity.

"This is a busy week," says Scott McGuinness as he describes the demanding schedule of a Karen Read
diehard. Today he is at a protest, and he went to one on Monday, too, in South Boston, outside of the
Massachusetts State Police barracks. He spent Tuesday night at a meeting of the Canton Select Board.
And tomorrow, Thursday, he'd be heading to Dedham, to support the blogger known as Turtleboy in
court appearances related to his coverage of the case.

McGuinness lives in Shirley, and sometimes the commute to his Karen Read job takes an hour, or more
if the traffic's bad. "But I feel like I'm letting people down if I don't go," he says.

It's been two weeks since Judge Cannone declared a mistrial, leaving unanswered, for now (for some),
                                                                 S.R.21
the question of whether Read drunkenly backed her Lexus into her boyfriend and left him for dead in
              Case 1:25-cv-10399-FDS         Document 18-1      Filed 02/26/25    Page 22 of 39
the snow on a lawn in Canton on a January night in 2022, as the Commonwealth alleges, or whether she
was framed for his murder by the people inside the house, as her attorneys argued.

If you indulged in a brief coma on mistrial day, such is the ongoing intensity that you could be forgiven
for thinking the trial was still in session. And not just because it's still spinning out actual news -- leaks
about the jurors' thoughts; the motion by Read's lawyers to dismiss two charges; the suspension
without pay of state Trooper Michael Proctor, lead investigator in the case; the suspension with pay of
Canton Police Detective Kevin Albert, whose brother owned the home where John O'Keefe's body was
found.

An administrator of an enormous Karen Read-focused Facebook group says he is spending three or four
hours a day on his responsibilities -- approving new posts, writing his own, welcoming new members,
who are coming in in droves, as Read's fame continues to grow.

"The people who were on the fringe of being interested in it are now engulfed," said the administrator, a
middle school teacher, who asked to be identified by his Facebook name, Dooh Greg. "The anger level
was at a nine before and now it's at an 11.5" a rising rage he attributes to the assertion by Read's
lawyers that the jury reportedly unanimously agreed to acquit her on two of the three counts.

"I've got a fire lit in me that I didn't know needed to be lit," Paul Cristofaro, a restaurant owner and one
of the informal organizers of the resistance. It was early in the week, and already plans were being
formulated for weekend protests in spots from Auburn to the South Shore, some at rotaries, others on
overpasses.

"I'm just as active as I was during the trial," he said.

People's rage takes different forms. At least one Read supporter who is unhappy with Judge Cannone's
handling of Read's trial has taken to Facebook to post a link to the Massachusetts Commission on
Judicial Conduct so that others can easily file complaints against her.

Many Read obsessive spend their time on X, reading endless posts that dissect, once again, and possibly
forever, what Karen Read did or didn't say after she discovered John O'Keefe's body buried in the snow,
and who did or who did not hear her say it, whatever it is.

Then there are the trial highlight reels to binge for those who miss the good old days. One, "A goodbye
to our new friends," is a nostalgia-tinged montage of the now-familiar courtroom characters (the court
                                                   S.R.22
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reporter, the clerk, the cult-favorite ceiling fan) with Sara McLachlan's emotional "I Will Remember
You" for a soundtrack.

Jay, its creator, asked that his last name not be used because "people are insane about this case. If they
don't agree with you, they'll try to dox you."

He's a former insurance adjuster who became so fascinated with true crime that he cashed in his 401(k)
to start a trial-focused YouTube channel. His Read montage was a hit -it got 1.7k likes - but even so,
he found dealing with both sides of the case so unpleasant, he said, that he vowed not to cover a second
Karen Read retrial.

Could it be? A person with the strength not to tune in for season two?



Beth Teitel! can be reached at beth.teitell@globe.com. Follow her@bethteilell.




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                         EXHIBIT2




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Canton Cover-Up Part 76: Chris
Albert Confronts "Loser" Woman
In "Free Karen Read" Shirt In
Waterfall Parking Lot For Taking
His Picture
Aidan Kearney July 17, 2023


27 I    '%


- rj "




- Framed- Video for Eull Background on Canton Cover-Up Story
- Donate to the Karen Read Legal Defense Fund
- See all parts of the Canton Cover-Up Series
- Watch the Live Shows and Videos

On Saturday a pair of turtle riders wandered over to the Waterfront Bar



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& Grille in Canton, which was the last place John O'Keefe was seen
alive. They wore the new Free Karen Read shirts that everyone's been
raving about.

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However, when they stepped foot inside they saw a familiar face.




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Chicken Parm Charlie. The last time we saw him he was kicking an
award winning journalist out of his pizza shop, and thus denying access
to Chris Albert's world famous mediocre chicken parm. He then called
police, claiming that he was some sort of victim, while periodically
opening the door to call me a "looooosssaah" who was "going to get it!"




Clearly this man is on tilt because he knows he can no longer go out in
public and live a normal life like he used to. That tends to happen when
your family is involved in the murder of a police officer, followed by the
subsequent cover up and framing of an innocent woman.


     ADS 6 POPUPS                   £,           GET AD-FREE
   DRIVING YOU MAD?                S          FROM S10 A MONTH
It appears as if Chicken Parm Charlie, who is an elected member of the
Board of Selectman, realized he was being photographed. However,
instead of quietly accepting that people have the right to take pictures
in public, and that he is both an elected official and the brother and
father of men who have been accused in open court of murder, Chicken
Parm Charlie decided to confront and berate these two women in the
parking lot. He accused the woman of giving this award winning



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journalist a handjob, which is factually untrue, but it would probably be
more satisfying than his pizza. After that she began filming. Watch:

This dude cannot go five second without calling someone a
"loooosssahhh," despite having a worse record in court than the New
York Jets. Mr. Chicken Parm Charlie, you had to move into a small
apartment because you couldn't afford to live in your house, you get by
on your family name, and you make mediocre chicken parm that the
Little League coaches buy out of pity. I assure you that the loser here is
now who you think it is. As Marlo Stanfield once said, "You want it to be
one way, but it's the other way."




Chris Albert wants to live in the world he used to live in, where the
Alberts owned the town of Canton and nobody crossed them. He's not
used to being unliked, despite the fact that he once killed a man and
has countless court judgments and liens against him, which really says
a lot about the town of Canton. This is a man who is a well known
conservative in a town that Joe Biden won by 30 points, who managed
to beat a Yale educated liberal attorney, simply because he comes from
the cool jock family. He doesn't know how to react to negativity
because he's never been in this position before, which is why he hired
an attorney to send out more than a dozen demand letters threatening



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defamation lawsuits against people who speculated about his family's
involvement in a murder on Facebook.

But unfortunately for Chicken Parm Charlie we began reporting on this
case, and the Albert family name no longer carries the swagger in town
that it did three months ago. As Slim Charle once wisely said, "the thing
about the old day, they the OLD days."




There is a Wire quote for everything.

The best part about the Alberts and McCabes is that they think they
can talk their way out of everything. Matt McCabe told me when I
confronted him previously that it was "proven in court" that his wife
never Googled "how long to die in cold! When you're accustomed to



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getting away with everything your entire life you don't know how to
behave when you're finally held accountable. You're used to people
blindly eating up your bullshit, which is why people like Chris think they
can talk their way out of anything.

"You don't know anything about me and my family."

Here's some things we know about your family:

  • Your brother Brian never came outside after being alerted that
    there was a dead cop on his front lawn
  • Your son Colin frequently posts videos of himself threatening to kill
    people
  • Your son was born innocent but became a depraved psychopath
    who believes that violence solves problems, which is a direct result
    of your failures as a father to impart morals into him, despite going
    through the motions and pretending to be practicing Catholics
  • Your son had a black eye and cut up knuckles two weeks after
    John O'Keefe was killed
  • You yourself once killed a man and left the scene of the crime
  • You are close personal family friends with the Proctor family and
    have been for well over a decade
  • Your family never left Canton because they control everything and
    can bang any woman they want so long as they graduated from
    Canton High School between 1989 and 1996

"Why are you taking pictures of me?"

Because she's a free person living in a free country and she can take
pictures of whatever she wants without having to explain herself to you.
But if you really wanna know why, it's because you're so brazen that




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you still go to bars like the Waterfall, knowing full well what everyone in
town is thinking about you.

"Because you were being all weird to me."

Sir, you're yelling at women in a parking lot and accusing them of giving
an award winning journalist a handjob. I assure you that it is not them
who is being weird. Also, your assumption that two women wouldn't
drive a pickup truck reeks of toxic masculinity.

This interaction was the best:

Turtle rider: "You're framing an innocent woman."

Chicken Parm Charlie: "Am I really? Because Karen f***ing ran John
over. You have no fing clue."

Turtle rider: "That's why Colin has bruises all over his body."

Chicken Parm Charlie: "You have zero clue"

Turtle rider: "The whole state believes that you are guilty."

Chicken Parm Charlie: "You're a fing looosah."

Turtle rider: "I'm a loser? You're arguing with a woman in a parking lot!

His response was basically the same response Matt McCabe gave me
about his wife's Google search. It defies logic and reason, and ignores
all the facts. But if they shout it loud enough then no one will challenge
them. Karen Read did not run John over, and I will buy a $500 gift card
to D&E Pizza (which I assume will be him writing something on a
napkin) if he can explain to me the physics of how that happened,




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which align with all witness statements and the autopsy photos.

The best thing she said was that the whole state believes they are
guilty. Chris needed to hear that because the Alberts and McCabes
have insulated themselves in a bubble of people that is growing smaller
by the day, who reassure them that they believe Karen Read killed John
O'Keefe. And for a while, so did most people. Outside of Canton no one
believes that, and inside of Canton more and more people are seeing
the truth. The one place that was their sanctuary of acceptance is no
longer that.

Anyway, let's keep this up. I was so proud to see turtle riders unafraid,
confronting evil like this in the flesh. The fact that he's still going to
places like the Waterfall is because he feels comfortable doing so. But
murderers, and those who cover for them, do not deserve to live a
comfortable life while Karen Read suffers and fights for justice for John
O'Keefe.

Hello Turtle Riders. As you know if you follow Turtleboy we are
constantly getting censored and banned by Facebook for what are
clearly not violations of their terms of service. Twitter has done the
same, and trolls mass reported our blog to Google AdSense thousands
of times, leading to demonetization. We can get by and survive, but we
could really use your help. Please consider donating by hitting the
Donation button above if you'd like support free speech and what we
do in the face of Silicon Valley censorship. Or just buy our award
winning book about the dangers of censorship and rise of Turtleboy:




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                         EXHIBIT 3




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                Post

              Jessica Machado {2
                                                                                Follow
               @jessmachadoshow

        This morning, the individual who is accusing me of harassing her at
Q       Norfolk Superior Court during the Karen Read trial had an opportunity to
        be heard in front of a judge but chose not to be. Instead, she claimed
0       that she now needs an attorney, as I counter filed against her this
        morning.

6       When the judge asked if she realized that there was no order in place
        and that she would not get one today if she requested a new date, she
        said she understood and asked for it to be continued. We now have a
        new date of July 26th. There is no order.

        I was extremely prepared to not only defend myself against these
        ridiculous accusations, but I was equally as prepared to prove that I am
00
ca      the one in need of protection. However, at this time, I will be hiring an
        attorney to do the heavy lifting.

        Many friends and followers have offered to help fund my legal
        representation and I will take you all up on that offer. Later today I will
        post a link to a fundraising option that you can use if you would like to
        contribute.
0
c
        This is distracting from my work and as you can imagine, very stressful.
        The seemingly habitual exploiting of court ordered protection orders by
O       women in our court system is a real problem and the only way to stop it
        is to fight back. I intend to do that.

        Last edited 11:30 AM· Jul 16, 2024 · 44.SK Views


         6s                 t.a7                Q2 51s               [o

               Post your reply


               Rich Vetstein @richardvetstein · 2h
              The newspaper you work for should really be paying your legal fees, since
              this is all happening as a result of your employment related activities. Just
              saying again.

               O7               t4                0 180             l 4.8K

               Jessica Machad   o  @jessmachadoshow· 1h
                                         S.R.35
               We have a meeting at 130 today to discuss.
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                         EXHIBIT4




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X                                     Post                                                                                 Q     Search

                                     Meredith O @meredithoneil • Jul 15
(i';)   Home                         Happy Monday! I figured everyone could use a good laugh after this                   Relevant people
                                     weekend.
                                                                                                                                  Jessica Machado
Q       Explore
                                     TBT to the dark days before @jessmachadoshow got @msgrant_smith                              @jessmachadoshow
                                                                                                                                                                    Follor
                                     banned from court. I didn't take this video, but it was went to me on a                      Correspondent @FallRiverReport and
                                     Sunday afternoon in May after I'd set up @DoctorTurtleboy's chair
0       Notifications
                                     Show more
                                                                                                                                  @NewBedfordGuide. Former host of
                                                                                                                                  the Jessica Machado Show and
                                                                                                                                  SouthCoast Tonight @WBSM. Former
8       Messages                                                                                                                  columnist at @HowieCarrShow

                                                                                                                                   Meredith O
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                                                                                                                                  Grant Smith Ellis
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X       Premium                                                     watch again                                                   witness so FAFO.


4       Verified Orgs                                                                                                     What's happening

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                                                                                                                          Maine
                                    Jessica Machado
                                    @jessmachadoshow                                                                      Trending in United States
                                                                                                                          Blake Lively
                              This video was entered into evidence and instrumental in me getting
                                                                                                                          Trending with Lady De2dpool
                              protection from Grant.
                                                                                                                          Entertainment industry· Trending
                              Have to admit, I hate watching this but it's a good reminder that you                       California to Texas
                              have to fight to stop people like Grant from attacking you because if you                   16.5K posts

                              don't, they will.
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                              12:45 PM·Jul 15, 2024 ·3,915 Views

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                                     Butt Dial McCabe @McAlbuht · Jul 15
                                    We (i) love you

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                                    Mimi @j9sween1·Jul 15
                                    love that he can't go to courthouse anymore. He treats everyone that way.
                                    good job Jessica1

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                                     Lalla Mickelwait ( @LailaMicketwait                                   Ad
                                    TAKEDOWN reveals the never-before-told inside story of how P'rhub was
                                    exposed for enabling and profiting from countless videos of child rape and
                                    trafficking. But the fight isn't over yet! Victims deserve justice.

                                    Watch & share this video, then learn more at the link below.

                                     --------
        Don Keavany                           .
                                                                S.R.37
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        @DKeavany                                                                                                ssages
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                         COMMONWEALTH OF MASSACHUSETTS

NORFOLK, ss.                                                            SUPERIOR COURT
                                                                        CRIMINAL ACTION
                                                                        N0. 2282CR00117

                                       COMMONWEALTH



                                          KAREN READ

 FINDINGS AND ORDER ON JUROR DOE'S EMERGENCY MOTION TO EXTEND
                 JULY 8, 2024 IMPOUNDMENT ORDER



       This matter came before the Court on the emergency motion of Juror Doe, to extend the

July 8, 2024 Impoundment Order entered by this court. Upon review of the motion

and supporting documents, including the Affidavit of Juror Doe, the Court makes the following

findings and Order:

I. This case has garnered significant and divisive attention in Massachusetts and across

the nation.

2. Individuals associated with this case have been charged with intimidation, which

charges remain pending.

3. Juror Doe has submitted a detailed affidavit which I find to be credible.

4. Juror Doe is in reasonable fear for their safety and the safety of their family if the list

of jurors is made available to the public.

5. Through their affidavit, Juror Doe has established that publication of the list identifying

the names of the empaneled jurors will present a real and present risk of personal

harm to jurors and to the integrity of their service.




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6. Through their affidavit, Juror Doe has established that there is a continuing risk of

immediate and irreparable injury should the jury list be made available to .the public

at this time.

7. Through their affidavit, Juror Doe has established good cause to extend the

Impoundment Order, dated July 8, 2024, until and unless otherwise ordered by the

Court.

8. This Order shall not preclude any juror from identifying himself or herself and/or

from speaking to the public about his/her jury service.



SO ORDERED,




                                                             /s/ Beverly J. Cannone

                                                              Beverly J. Cannone
                                                              Justice of the Superior Court


Date: July 18, 2024




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